               Case 3:21-cr-00274-CRB Document 4 Filed 02/18/21 Page 1 of 4




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                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) CASE NO. 21-MJ-70157 MAG
          Plaintiff,                                  )
14                                                    )
                                                      ) PETITION
                    v.                                           FOR WRIT OF HABEAS CORPUS
15                                                      AD PROSEQUENDUM
                                                      )
     IAN BENJAMIN ROGERS,
16                                                    )
            Defendant.                                )
17                                                    )
                                                      )
18

19

20 TO:      The Honorable Laurel Beeler, United States Magistrate Judge for the Northern District of
21          California
22

23          Assistant United States Attorney FRANK J. RIEBLI respectfully requests that the Court issue a

24 Writ of Habeas Corpus Ad Prosequendum for the person of prisoner IAN BENJAMIN ROGERS, whose

25 place of custody or jailor are set forth in the requested Writ, attached hereto.

26          The prisoner, IAN BENJAMIN ROGERS, is required to appear remotely as a defendant in the

27 ///

28 ///

     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-MJ-70157 MAG
               Case 3:21-cr-00274-CRB Document 4 Filed 02/18/21 Page 2 of 4




 1 above-entitled matter in this Court on the date identified in the writ for his initial appearance and any

 2 subsequent proceedings, and therefore petitioner prays that the Court issue the Writ as presented.

 3 Dated: February 1, 2021                                        Respectfully Submitted,

 4                                                                DAVID L. ANDERSON
                                                                  United States Attorney
 5

 6                                                                       /s/
                                                                  FRANK J. RIEBLI
 7                                                                Assistant United States Attorney
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     PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-MJ-70157 MAG
               Case 3:21-cr-00274-CRB Document 4 Filed 02/18/21 Page 3 of 4




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                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   CASE NO. 21-MJ-70157 MAG
                                                      )
14          Plaintiff,                                )
                                                          [PROPOSED] ORDER GRANTING PETITION
                                                      )
15                  v.                                    FOR WRIT OF HABEAS CORPUS AD
                                                      )   PROSEQUENDUM
16   IAN BENJAMIN ROGERS,                             )
                                                      )
17          Defendant.                                )
                                                      )
18

19          Upon motion of the United States of America, and good cause appearing therefore,
20 IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

21 Corpus Ad Prosequendum requiring the production of defendant IAN BENJAMIN ROGERS, before

22 this Court on the date stated in the Writ submitted, or as soon thereafter as practicable, and requiring that

23 the defendant be present remotely for his initial appearance and any subsequent proceedings, is granted

24 and the Writ shall be issued as presented.

25
            February 18, 2021
26 DATED: ___________________                                     __________________________________
                                                                  HON. LAUREL BEELER
27                                                                United States Magistrate Judge
28

     [PROPOSED] ORDER
     CASE NO. 21-MJ-70157 MAG
               Case 3:21-cr-00274-CRB Document 4 Filed 02/18/21 Page 4 of 4




 1                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      DONALD M. O’KEEFE, United States Marshal for the Northern District of California or

 4          and DINA JOSE, Napa County Director of Corrections and /or any of their authorized

 5          deputies:

 6

 7          Pursuant to the foregoing petition and order, you are directed to produce the body of IAN

 8 BENJAMIN ROGERS, who is in the custody of Napa County Department of Corrections, at 1125 Third

 9 Street in Napa, California 94559, before the Honorable Laurel Beeler, United States Magistrate Judge

10 for the Northern District of California, located at the San Francisco Federal Courthouse, located at 450

11 Golden Gate Avenue, 15th Floor, in San Francisco, California 94102, on Tuesday, February 23, 2021,

12 at 10:30 a.m., or as soon thereafter as practicable, on the charges filed against defendant in the above-

13 entitled Court and further to produce said defendant at any subsequent proceedings. A remote

14 appearance will satisfy this Writ.

15          Should the current custodian release IAN BENJAMIN ROGERS from its custody, you are

16 directed that the defendant immediately be delivered and remanded to the U.S. Marshals for the

17 Northern District of California and/or his authorized deputies under this Writ.

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19
            February 18, 2021
20 DATED: ______________________                         CLERK, UNITED STATES DISTRICT COURT
                                                         NORTHERN
                                                             HERNN DISTRICT OF CAL
                                                                               CALIFORNIA
21

22
                                                  By:    __________________________________
                                                              _____________
                                                                         _ __________
23                                                       DEPUTY CLERK

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     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 21-MJ-70157 MAG
